Case 1:18-cv-24100-MGC Document 155-17 Entered on FLSD Docket 02/05/2021 Page 1 of 3




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 18-CV-24100-COOKE/GOODMAN


    DIGNA VINAS,

                   Plaintiff,

    v.

    THE INDEPENDENT ORDER
    OF FORESTERS,

                Defendant.
    ___________________________________/

                                 DECLARATION OF DAVID SULLIVAN

           I, David Sullivan, hereby declare as follows:

    1. I am over the age of eighteen and am otherwise competent to testify to the facts set forth in this
       Declaration. All statements contained in this Declaration are true and correct and are based
       upon my personal knowledge or on documents and information maintained by The
       Independent Order of Foresters (“Foresters”) in the ordinary course of its business.

    2. I am employed as the Assistance Vice President of Claims, Compensation and Contracting at
       Foresters. In my capacity as such, I am familiar with Foresters’ life insurance certificates,
       including SMART Universal Life Insurance Certificate No. 8356627 (the “Certificate”),
       which Foresters issued to Rigoberto Vinas on January 26, 2015.

    3. After Mr. Vinas died on January 11, 2017, Plaintiff filed a claim for the Death Benefit and
       Foresters conducted a contestability investigation. The Claims department reviewed Mr.
       Vinas’s medical records, and determined that based on number of times diabetes and secondary
       conditions appeared in Mr. Vinas’s medical records, he must have known and believed he had
       diabetic-related conditions.     Foresters determined that Mr. Vinas made material
       misrepresentations about his medical history during the application process. Accordingly, by
       letter dated April 5, 2017, Foresters denied Plaintiff’s claim, rescinded the Certificate, and
       tendered a check in the amount of $11,448.00 representing all premiums paid for the
       Certificate.

    4. In the denial letter, Foresters advised Plaintiff that if she had any medical or other information
       suggesting that Foresters’ decision was incorrect, she should provide it so that Foresters could
       conduct a further review. Instead, however, Plaintiff waited until March 26, 2020—almost 3
       years after the denial of her claim—to provide a letter from Dr. Hershman indicating that Mr.
Case 1:18-cv-24100-MGC Document 155-17 Entered on FLSD Docket 02/05/2021 Page 2 of 3




       Vinas did not have diabetes or secondary complications, and that he did not tell Mr. Vinas he
       had such diabetes or secondary complications. Immediately thereafter Foresters approved
       Plaintiff’s claim and agreed to pay reasonable attorney’s fees incurred through the date of
       payment. On April 6, 2020, Foresters issued a check to Plaintiff in the amount of $118,220.74,
       which included the $92,000.00 Death Benefit and $26,220.74 in interest.

    5. Attached to Foresters’ of Statement of Material Facts in Support of its Motion for Summary
       Judgment (“SOF”) are records from Foresters’ claim file for Plaintiff. These records are kept
       by Foresters in the ordinary course of business and are in my custody or subject to my control,
       supervision or direction. It is the regular course of business of Foresters for an employee or
       representative of Foresters, with knowledge of the acts, events, conditions and other
       information recorded to make the records or to transmit information thereof to be included in
       such records. The records were made at or near the time when the acts, events, conditions and
       other information contained therein occurred, were observed, or rendered.

    6. The following records attached to the Statement of Material Facts and e-filed on the docket are
       the originals or true and correct copies of the originals:

           a. Doc. 147-1 is the Certificate.

           b. Exhibit A is Plaintiff’s Application for Individual Life Insurance and Diabetes
              Questionnaire.

           c. Exhibit B is a screenshot recording internal steps during the application process.

           d. Exhibit C is a letter dated January 16, 2016, from Foresters to Mr. Vinas regarding the
              MIB Hit.

           e. Exhibit D is a letter dated January 22, 2015, which Mr. Vinas’s insurance broker,
              Jazmin Lightbourn, had faxed to Foresters.

           f. Exhibit F is an Overflow Form which was made part of Mr. Vinas’s Application.

           g. Exhibit H is a screenshot recording certain of Foresters’ internal activities.

           h. Exhibit I is Plaintiff’s Statement of Claim for Death Benefits.

           a. Exhibit J is a letter dated January 16, 2017 regarding Foresters’ contestability
              investigation.

           b. Exhibit K consists of Dr. Hershman’s medical records, which Plaintiff sent to Foresters
              in support of her claim.

           c. Exhibit L is an underwriting opinion prepared by Foresters on February 28, 2017.




                                                     2
Case 1:18-cv-24100-MGC Document 155-17 Entered on FLSD Docket 02/05/2021 Page 3 of 3




           d. Exhibit O is a letter dated April 5, 2017, in which Foresters denied Plaintiff’s claim and
              rescinded the Certificate.

           e. Exhibit P is a letter from Dr. Hershman dated March 26, 2020.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
    statements are true and correct.


    Executed on _____________, 2021.                             __________________________
                                                                 Declarant Signature




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